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                          UNITED STATES DISTRICT COURT
   9
                         CENTRAL DISTRICT OF CALIFORNIA
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  11 JENNY L. FLORES, et al.,          )   Case No.: CV 85-4544-DMG (AGRx)
  12                                   )
         Plaintiffs,                   )
  13                                   )
                    v.                 )   ORDER APPOINTING SPECIAL
  14 JEFFERSON B. SESSIONS, III,       )   MASTER/INDEPENDENT
                                       )   MONITOR [363] [469] [470]
  15 U.S. Attorney General, et al.,    )
                                       )
  16       Defendants.                 )
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  17                                   )
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   1          Plaintiffs initiated this action on July 11, 1985.          [Doc. # 1.]       On
   2 January 28, 1997, the Court approved a class-wide settlement of this action
   3 pursuant to Federal Rule of Civil Procedure 23 (“Flores Agreement” or
   4 “Agreement”). [Doc. # 101 at 8–52.]
   5          On June 27, 2017, the Court granted in part and denied in part Plaintiffs’
   6 Motion to Enforce and Appoint a Special Monitor (“June 27, 2017 Order”). [Doc.
   7 # 363.] In particular, the Court found that: (1) conditions at the U.S. Customs and
   8 Border Protection (“CBP”) stations in the Rio Grande Valley sector (“RGV”
   9 sector) did not comport with Paragraph 12A of the Flores Agreement;
  10 (2) Defendants violated Paragraph 24D of the Agreement by failing to provide
  11 Class Members1 with a list of legal services and the Notice of Right of Judicial
  12 Review; (3) Defendants violated Paragraphs 14, 18, 19, and 23 of the Agreement
  13 by failing to make and record continuous efforts to release Class Members and
  14 place them in non-secure, licensed facilities; and (4) Defendants violated
  15 Paragraphs 12A and 14 of the Agreement by failing to release Class Members
  16 without unnecessary delay and/or timely place Class Members in licensed
  17 facilities. See id. at 33–34. Instead of granting Plaintiffs’ request to appoint an
  18 Independent Monitor at that time, the Court indicated it would appoint a Juvenile
  19 Coordinator consistent with Paragraph 28A of the Flores Agreement.2 Id. at 32-
  20 33.      In response to that Order, Defendants proposed the names of two
  21 individuals—Henry A. Moak, Jr. from the CBP and Deane Dougherty from
  22 Immigration and Customs Enforcement (“ICE”)—to serve in the role of Juvenile
  23 Coordinator for their respective agencies. [Doc. # 368.] Thereafter, the Court
  24
  25          1
             To the extent that a term is not explicitly defined in this Order, it shall have
     the meaning provided in the Flores Agreement and/or the Court’s Orders enforcing
  26 that Agreement.
  27          2
                  The June 27, 2017 Order cited Paragraph 24A, but it was a typographical
  28 error.
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   1 appointed Mr. Moak and Ms. Dougherty as the Juvenile Coordinators for CBP and
   2 ICE, respectively, pursuant to Paragraph 28A of the Agreement. [Doc. # 371.]
   3 The Court stated that if it was not satisfied with the progress made within
   4 approximately one year of the appointment of the Juvenile Coordinators, it would
   5 reconsider Plaintiffs’ renewed request for the appointment of an Independent
   6 Monitor. [Doc. # 363 at 32–33.]
   7         On July 19, 2018, Plaintiffs submitted numerous declarations from Class
   8 Members and their relatives indicating that Defendants failed to comply with the
   9 Court’s June 27, 2017 Order.3 [Doc. ## 463-1 to 463-9.] On July 27, 2018, the
  10 Court held a status conference to discuss whether the Court should appoint an
  11 Independent Monitor. [Doc. # 469.]
  12         On July 30, 2018, the Court found that the Office of Refugee Resettlement
  13 (“ORR”) breached the Flores Agreement by (inter alia): (1) detaining certain
  14 Class Members in Shiloh Residential Treatment Center (“RTC”) in violation of
  15 Paragraphs 6, 7, 8, and 19 and Exhibit 1 of the Agreement, (2) failing to timely
  16 provide a written notice of reasons for placing a Class Member in a secure facility,
  17 staff-secure facility, or RTC in violation of Paragraph 24C of the Agreement,
  18 (3) placing certain Class Members in secure facilities in violation of Paragraph 21
  19 of the Agreement, (4) administering psychotropic medication to Class Members at
  20 Shiloh RTC in violation of Paragraphs 6 and 9 and Exhibit 1 of the Agreement,
  21 and (5) undertaking certain policies that unnecessarily delay the release of Class
  22 Members to custodians in violation of Paragraphs 14 and 18 of the Agreement
  23 (“July 30, 2018 Order”). [Doc. # 470.] On August 27, 2018, Plaintiffs’ counsel in
  24 a related matter filed a declaration from a mental health specialist, wherein she
  25 attests that ORR has failed to transfer any Class Members out of Shiloh RTC or
  26         3
             Additionally, Juvenile Coordinator Henry Moak acknowledged that CBP’s
  27 custodial records sometimes do not accurately reflect Class Members’ experiences
     in the agency’s custody. [Doc. # 430-1 at 5.]
  28

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   1 modify the agency’s policies regarding the administration of psychotropic
   2 medication to Class Members. See Cohen Decl. at ¶¶ 9–10, Lucas R., et al. v. Alex
   3 Azar, et al., No. CV 18-5741 (C.D. Cal.) [Doc. # 64-1].
   4         Because of the complexity of the Flores Agreement, the Court’s findings of
   5 non-compliance, and ongoing disputes between the parties relating to the
   6 implementation of the Flores Agreement, the Court finds that the appointment of a
   7 Special Master and Independent Monitor is warranted. See Fed. R. Civ. P. 53(a);
   8 Hook v. State of Ariz., 120 F.3d 921, 926 (9th Cir. 1997); United States v.
   9 Suquamish Indian Tribe, 901 F.2d 772, 774–75 (9th Cir. 1990).
  10 A.     THE SPECIAL MASTER/INDEPENDENT MONITOR
  11         1.    Appointment of the Monitor. The Court hereby appoints Andrea
  12 Sheridan Ordin as the Special Master/Independent Monitor (“the Monitor”).
  13         2.    Authority of the Monitor. The Monitor shall have the authority to
  14 perform the following tasks, subject to the oversight of this Court:
  15         a.    Monitor compliance with the Court’s June 27, 2017 and July 30, 2018
  16               Orders, and other Court orders issued during the Term (“the Court’s
  17               Orders”);
  18         b.    Meet with the Parties and their counsel and receive and/or hear
  19               evidence and legal arguments on issues pertaining to compliance with
  20               the Court’s Orders;
  21         c.    Make     findings     of   fact     and   prepare    formal     Reports     and
  22               Recommendations to the Court regarding achievement of the goals of
  23               monitoring and substantial compliance with the Court’s Orders;
  24         d.    Conduct such investigation, interviews, and site visits as are necessary
  25               to achieve the goals of monitoring or aid in the preparation of Reports
  26               and Recommendations;
  27         e.    Hire and retain others, including but not limited to independent
  28               experts, specialists, associate attorneys, law clerks, paralegals, and/or

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   1               interpreters (collectively “aides”), to assist the Monitor in the
   2               performance of her duties;
   3        f.     Direct the Parties to produce such information or documents as the
   4               Monitor deems relevant to achieve the goals of monitoring or to
   5               prepare Reports and Recommendations;
   6        g.     Resolve such disputes as may arise between the Parties regarding the
   7               implementation of the Court’s Orders, including this Order;
   8        h.     Preside over and facilitate mediations and/or settlement negotiations
   9               between the Parties as to any issues pertaining to the implementation
  10               of the Court’s Orders; and
  11        i.     Advise and update the Court on the status of Defendants’ compliance
  12               with the Court’s Orders.
  13        While the Monitor shall have broad discretion regarding how to exercise her
  14 authority, her responsibilities shall focus initially on monitoring compliance with
  15 the June 27, 2017 and July 30, 2018 Orders, recommending measures to cure any
  16 violations thereof, and mediating disputes relating to Defendants’ compliance or
  17 non-compliance with those Orders. Pursuant to the July 27, 2018 Order [Doc. #
  18 469], the Monitor shall also have the authority to review the declarations filed by
  19 the Parties regarding conditions at Defendants’ facilities and recommend remedial
  20 action, if necessary.
  21        During the course of her monitoring duties, if the Monitor discovers
  22 potential breaches of the Flores Agreement that are beyond the scope of the
  23 June 27, 2017, July 27, 2018, or July 30, 2018 Orders, she shall bring them to the
  24 Court’s and the Parties’ attention. The Court, in its discretion, may authorize the
  25 Monitor to investigate the potential breaches, request briefing from the Parties
  26 thereon, hold hearings or mediation relating thereto, and issue a Report and
  27 Recommendation thereon to the Court if the matter cannot be resolved through
  28 mediation.    The Monitor shall have the authority to gather information and

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   1 documentation in furtherance of the monitoring function, as identified herein. The
   2 Monitor shall have the duties, powers, and responsibilities detailed in this Order;
   3 provided that if to accomplish her duties, the Monitor must undertake necessary
   4 measures not specifically referred to herein or seek modifications to this Order due
   5 to unforeseen circumstances, the Monitor is authorized to do so, as long as she has
   6 informed the Court and the Parties of the nature of, and need for, such measures or
   7 modifications, and received the Court’s written approval. Should the Monitor
   8 determine that such measures or modifications are necessary, the Parties shall
   9 receive notice and an opportunity to comment or object (or to submit a stipulation
  10 and proposed order) before the Court approves such measures.
  11         3.    Term and Extensions. The Court appoints the Monitor for a term of
  12 12 months (“Initial Term”) commencing on October 17, 2018 (the “Effective
  13 Date”). The Initial Term may be extended (“Extended Term”)4 if, at least four (4)
  14 weeks before the expiration of the Initial Term, any of the Parties and/or the
  15 Monitor file with the Court a Notice requesting an extension of the Monitor’s term
  16 for an additional term based on specific and ongoing concerns regarding
  17 Defendants’ compliance with the June 27, 2017 and/or July 30, 2018 Orders, or
  18 other Orders that the Court may issue within the Term. The Notice shall identify
  19 an appropriate extension of time in order to ensure that the goals of the monitoring
  20 are met.5 The Parties shall have the right to respond to any such Notice filed by the
  21 Monitor within 10 days after the Notice’s filing. Opposing Parties and the Monitor
  22 shall have the right to respond to any such Notice filed by a Party within 10 days
  23 after the Notice’s filing. The Parties and/or the Monitor may apply for additional
  24
             4
  25           The Initial Term, together with any Extended Terms, shall collectively be
       referred to as “the Term.”
  26         5
              The goals of the monitoring include ensuring Defendants’ ongoing
  27 substantial compliance with the June 27, 2017 and July 30, 2018 Orders, and that
     such substantial compliance will continue without the presence of the Monitor.
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   1 extensions under the same standard by filing a Notice requesting an extension no
   2 later than four (4) weeks before the end of any Extended Term. Absent a showing
   3 of serious, specific, and ongoing concerns by the Parties and/or the Monitor, the
   4 presumptive end of the Term shall be no later than 36 months after the Effective
   5 Date.
   6         4.    Limitation on the Monitor’s Powers. The Monitor may not issue any
   7 orders or impose any sanctions, but may recommend to the Court various orders
   8 pertaining to the goals of monitoring, including any contempt sanction, provided
   9 that the Parties are given notice and an opportunity to respond. The Monitor shall
  10 have no authority to intervene in or direct Defendants’ activities.
  11         5.    Diligence of Monitor. The Monitor is directed to proceed with all
  12 reasonable diligence to carry out the duties assigned by the Court.
  13         6.    Ex Parte Communications. The Monitor shall be permitted to engage
  14 in ex parte communications under the following circumstances:
  15               a.     The Court. The Monitor shall be permitted to confer ex parte
  16                      with the Court regarding any issue arising under or relating to
  17                      this Order. All such communications shall be privileged and
  18                      shall not be subject to discovery.
  19               b.     The Parties. The Monitor shall be allowed to engage in ex
  20                      parte communications with the Parties’ counsel who have been
  21                      designated as the “primary contacts,” Defendants’ “points of
  22                      contact,” and the Juvenile Coordinators relating to the
  23                      performance of her duties. Prior to the Effective Date, each
  24                      side shall designate its primary contact and notify the Monitor
  25                      of that person’s contact information.
  26               c.     Class Members or their Representatives. The Monitor shall be
  27                      allowed to speak with Class Members or their Representatives.
  28                      The Parties shall meet and confer with the Monitor regarding a

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   1                    Detention Facility Notice which shall be disseminated to all
   2                    detention centers where Class Members may reside and which
   3                    will include email contact information for the Monitor in the
   4                    event a Class Member or his or her parent or Representative6
   5                    wishes to report a problem with compliance with the Court’s
   6                    Orders.
   7              d.    Notice of Ex Parte Communications.              For all ex parte
   8                    communications of a substantive nature during the applicable
   9                    Reporting Period (as defined infra in note 7), except those with
  10                    the Court, the Juvenile Coordinators, and the Parties’ primary
  11                    contacts, the Monitor shall provide a list of the parties involved
  12                    and the date of the ex parte communication in the Monitor’s
  13                    Reports and Recommendations to the Court.
  14 B.     THE MONITOR’S ACCESS TO INFORMATION
  15        1.    Class Member Information.        The Monitor’s authority to gather
  16 information and documentation in furtherance of the monitoring function includes
  17 the following non-exhaustive methods of obtaining information regarding Class
  18 Members:
  19              a.    Interviews. The Monitor may from time to time interview any
  20                    individual   (including    Defendants’      employees,       agents,
  21                    contractors, and subcontractors, and the agents or employees of
  22                    such contractors or subcontractors) she believes possesses
  23                    information relevant to Defendants’ compliance with the
  24                    Court’s Orders, including: (i) any individuals responsible for
  25                    implementing or issuing policies concerning the Flores
  26
            6
  27        Representatives include attorneys and representatives who represent Class
       Members and are accredited by the Board of Immigration Appeals.
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   1                   Agreement; (ii) any individuals acting in any supervisory
   2                   capacity over individuals implementing the Flores Agreement,
   3                   including individuals responsible for training or supervising,
   4                   ICE officers, ORR personnel, or detention facility officials; (iii)
   5                   any Representatives of Class Members; and (iv) any former or
   6                   current Class Member or former or current Class Member’s
   7                   relatives or accompanying adults (provided that the interviewee,
   8                   or her or his       Representative, does not object to such an
   9                   interview). Defendants shall provide the Monitor a point of
  10                   contact or points of contact from CBP, ICE, the U.S.
  11                   Citizenship and Immigration Service, the Executive Office of
  12                   Immigration Review, and ORR, along with contact information
  13                   for     Defendants’     employees,       agents,     contractors,     and
  14                   subcontractors who are involved in implementing the Flores
  15                   Agreement. The Monitor may from time to time confer with
  16                   those points of contact. If requested, Defendants shall provide
  17                   suitable facilities and arrangements for the conduct of such
  18                   interviews under conditions satisfactory to the Monitor. The
  19                   Monitor may, in her discretion, invite the Parties’ primary
  20                   contacts to attend such interviews.
  21              b.   Requests for Documents. From time to time, the Monitor may
  22                   serve    requests     for     any   non-privileged     information     or
  23                   documents, or class of documents, created, received or
  24                   maintained by Defendants or their employees, agents,
  25                   contractors, or subcontractors that is directly relevant to a
  26                   determination of compliance with the Court’s Orders.                 The
  27                   Monitor must provide Defendants with a Notice reasonably
  28                   describing the documents sought and the reason for such

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   1                   requests, and shall make reasonable efforts to ensure that the
   2                   requests are in accordance with Federal Rule of Civil Procedure
   3                   26(b). Any such Notice shall be filed on the docket. The
   4                   Monitor shall consider the burden such requests for information
   5                   or documentation will cause Defendants.            Defendants shall
   6                   provide the documents sought unless the documents are not
   7                   relevant to any issue arising from their compliance with the
   8                   Court’s Orders. Any dispute regarding such a request shall be
   9                   heard in the first instance by Hon. Alicia G. Rosenberg, United
  10                   States Magistrate Judge. Class Counsel shall have a right to
  11                   participate in any proceedings regarding disputed requests for
  12                   documents. Any dispute between the Parties shall be presented
  13                   to Judge Rosenberg in a joint stipulation in conformity with
  14                   Local Rule 37 and this Court’s Orders, including this Order.
  15              c.   Class Member Statistics. The Monitor may, in her discretion,
  16                   request information from Defendants, including but not limited
  17                   to information stored in Defendants’ e3 Detention Module
  18                   (“e3DM”)     relating     to   Class   Members’      conditions     of
  19                   confinement in the RGV sector, as well as the following
  20                   database information for all Class Members:
  21                   i.    Identifying Information and Detention History:
  22                         (i) Full name, (ii) alien #, (iii) date of birth, (iv) country
  23                         of birth, (v) name and alien # of accompanying relative
  24                         (if any), (vi) date and location of apprehension,
  25                         (vii) dates, locations, and reasons for all transfers of
  26                         Class Members, (viii) if the Class Member was not
  27                         released under Paragraph 14 of the Agreement or placed
  28                         pursuant to Paragraphs 12A(3) and/or 19 of the

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   1                         Agreement within 20 days of apprehension, the reason
   2                         why the Class Member was not released under Paragraph
   3                         14 of the Agreement or placed under Paragraph 12A(3)
   4                         and/or 19 of the Agreement, (ix) if the Class Member
   5                         was not released pursuant to Paragraph 14 of the Flores
   6                         Agreement, the date on which the Class Member was
   7                         placed in one of Defendants’ facilities and the name and
   8                         location of the facility, (x) whether a licensed
   9                         psychologist or psychiatrist has determined that the Class
  10                         Member poses a risk of harm to self or others and, if so,
  11                         the date on which this determination was made, the
  12                         identity of the psychologist or psychiatrist who made that
  13                         determination, and the basis for that determination,
  14                         (xi) if the Class Member is detained at Shiloh RTC and
  15                         is being administered any psychotropic medication, then
  16                         (a) the name of the prescribed medication(s), (b) the
  17                         dosage of those medication(s), (c) the identities and
  18                         qualifications of the individual(s) prescribing them, (d)
  19                         the basis for diagnosis, (e) whether, on which date(s), and
  20                         from whom ORR has obtained informed written consent
  21                         in accordance with 26 Texas Administrative Code
  22                         sections 748.2001 and 748.2253 for the administration of
  23                         the psychotropic medication(s), (f) whether and, if so, on
  24                         which date(s) ORR obtained a court order in accordance
  25                         with Texas law authorizing the administration of the
  26                         psychotropic    medication(s),    and     (g) whether     the
  27                         psychotropic    medication(s)    was/were      administered
  28                         because of an “emergency” as that term is defined in

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   1                          Texas Family Code section 266.009 and 26 Texas
   2                          Administrative Code section 748.2257 and, if so, the
   3                          basis for that determination, the date(s) on which it was
   4                          made, and the identity and qualifications of the
   5                          individual(s) making it;
   6                   ii.    Information Regarding CBP Detention:                   (i) The
   7                          number of hours the Class Member spent in a CBP
   8                          facility following arrest, (ii) the size of CBP cells where
   9                          the Class Member was detained and the largest number
  10                          of detainees held in the cell while the Class Member was
  11                          detained therein, (iii) the content and number of meals
  12                          and drinks provided to the Class Member while in CBP
  13                          custody, (iv) whether the Class Member was provided
  14                          with toiletries and towels while in CBP custody,
  15                          (v) temperature recordings taken while the Class Member
  16                          was detained, (vi) whether the Class Member was
  17                          provided with a blanket and mat or mattress to sleep on if
  18                          held overnight in a CBP facility, and (vii) whether the
  19                          Class Member was provided with a notice of her or his
  20                          rights as required by Paragraphs 12A and 24D of the
  21                          Agreement;
  22                   iii.   Continuous     Efforts       at    Release      Pursuant      to
  23                          Paragraph 14 of the Agreement:               (i) The dates on
  24                          which the option for release was explained by
  25                          Defendants’ employees to Class Members or their
  26                          accompanying parents, the names of the officers who
  27                          provided the information, the location where the
  28                          information was provided, and the dates on which the

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   1                         information was provided, (ii) the dates on which a Class
   2                         Member’s parent opted her or his Class Member child
   3                         out of the release provisions of the Agreement, (iii) the
   4                         dates on which efforts were made and recorded by
   5                         Defendants’ employees to release the Class Member
   6                         pursuant to Paragraph 14 of the Settlement, and the
   7                         names, titles, and locations of the person(s) who made
   8                         such efforts, (iv) identities of relatives, friends or
   9                         licensed group homes contacted for release or placement
  10                         of the Class Member under Paragraph 14, and the dates
  11                         of such contacts, and names, titles, and locations of
  12                         Defendants’ employees who made the contacts, and
  13                         (v) the results of efforts aimed at release of the Class
  14                         Member pursuant to Paragraph 14 of the Settlement;
  15                   iv.   Continuous     Efforts   at    Placement      Pursuant      to
  16                         Paragraph 19 of the Agreement: (i) The dates and
  17                         nature of efforts made and recorded that are aimed at the
  18                         placement of the Class Member pursuant to Paragraph 19
  19                         of the Agreement, (ii) the name and location of licensed
  20                         group homes contacted for placement of the Class
  21                         Member under Paragraph 19 of the Agreement, and the
  22                         names, titles, and locations of the person(s) who made
  23                         such contacts, and (iii) the results of efforts aimed at the
  24                         placement of the Class Member pursuant to Paragraph 19
  25                         of the Agreement, including the dates and locations of
  26                         placements of the Class Member under Paragraph 19 of
  27                         the Agreement;
  28

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   1                   v.    Placement of Class Members in Secure Facilities
   2                         Under Paragraph 21 of the Agreement: (i) The dates
   3                         on which a Class Member was held in or transferred to a
   4                         State or county juvenile detention facility or a secure
   5                         detention facility or contracted facility (collectively
   6                         “secure facilities”), (ii) the reasons why the Class
   7                         Member was transferred to a secure facility, (iii) the
   8                         names of the facilities to which the Class Member was
   9                         transferred, (iv) the reasons why the Class Member was
  10                         not transferred out of that facility pursuant to the
  11                         July 30, 2018 Order, and (v) the date on which the Class
  12                         Member was released (if no longer detained) or
  13                         transferred to a non-secure placement;
  14                   vi.   Provision of Notices of Rights: (i) The dates on which
  15                         Class Members were provided with a notice of their
  16                         rights pursuant to Paragraph 12A of the Agreement,
  17                         including the names, titles, and locations of Defendants’
  18                         employees who provided the notice of rights, (ii) the
  19                         dates on which Class Members were provided with
  20                         written notices of the reasons under Paragraph 24C of the
  21                         Agreement for housing the minor in a detention facility,
  22                         medium security facility, secure facility, staff-secure
  23                         facility, or RTC, (iii) dates on which, pursuant to
  24                         Paragraph 24D of the Agreement, Class Members were
  25                         provided (a) an INS Form I-770, (b) an explanation of the
  26                         right of judicial review as set out in Exhibit 6 to the
  27                         Agreement, and (c) the list of free legal services available
  28

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   1                          in the district pursuant to Defendants’ regulations (unless
   2                          previously given to the Class Member);
   3                   vii.   Released Class Member Statistics:             For each Class
   4                          Member who has been released from detention, in
   5                          addition to the information mentioned above: (i) the date
   6                          of release, (ii) the number of days in detention prior to
   7                          release, (iii) the location of release, (iv) the name,
   8                          relationship, telephone number, and address of the person
   9                          or licensed group home to whom the minor was released
  10                          and (if applicable) that person’s relationship to the minor,
  11                          (v) whether the Class Member was re-detained, (vi) the
  12                          date of re-detention, (vii) the location of re-detention, and
  13                          (viii) the reason for the re-detention; and
  14                   viii. Compliance with Paragraph 28A of the Agreement:
  15                          Documents showing that pursuant to Paragraph 28A of
  16                          the Agreement, one or more of Defendants’ designated
  17                          officials have maintained an up-to-date record of all
  18                          minors who remain in Defendants’ custody for longer
  19                          than 72 hours.
  20              d.   Data Concerning Emergencies or Influxes. On a monthly
  21                   basis commencing with the Effective Date, Defendants shall
  22                   provide the Monitor with statistics (in the form of a searchable
  23                   electronic file such as an Excel file) on (i) the number and
  24                   location by CBP station of Class Members in the RGV sector
  25                   who presented themselves for admission or were apprehended,
  26                   (ii) the numbers of Class Members identified in (i) who were
  27                   either placed in expedited removal or were issued Notices to
  28                   Appear (“NTAs”) in regular removal proceedings, (iii) the

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   1                      number of Class Members identified in (ii) who were released
   2                      or placed pursuant to Paragraphs 14 or 19 of the Agreement
   3                      before being transferred to ICE custody because they were
   4                      issued NTAs, and (iv) the number of CBP agents assigned to
   5                      the stations where the apprehensions identified in (i) took place.
   6                      On a monthly basis commencing with the Effective Date,
   7                      Defendants shall provide the Monitor with reports regarding
   8                      emergencies described in Paragraph 12B of the Agreement,
   9                      including the nature of and response to the emergency.
  10         2.    Current Advisal Forms.       By the Effective Date, Defendants shall
  11 provide the Monitor with all forms advising Class Members of their rights that are
  12 used at Defendants’ facilities. Throughout the Term, Defendants shall promptly
  13 provide to the Monitor updated forms if they are changed in any way.
  14         3.    Contracts with Service Providers and Licenses. By the Effective
  15 Date, Defendants shall provide the Monitor with copies of their current contract(s)
  16 with entities for the detention of Class Members and licenses issued for the
  17 operation of such entities implicated in the Court’s Orders. If entities with which
  18 Defendants have contracted have in turn subcontracted with other entities to
  19 perform detention functions for Class Members, Defendants shall provide copies of
  20 current versions of those subcontracts and any licenses issued to such
  21 subcontractors. Defendants shall promptly provide updates to the Monitor if any
  22 contracts, subcontracts, or licenses mentioned in this paragraph change during the
  23 Term or if there are proposed amendments or renewals of such contracts,
  24 subcontracts, or licenses.
  25         4.    Legal Representative Organizations. By the Effective Date, and once
  26 every three (3) months thereafter until the expiration of the Term, Defendants shall
  27 provide the Monitor with a list of all organizations listed in their list of free legal
  28 services provided to detained Class Members or their accompanying relatives by

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   1 Defendants’ officials. Defendants shall promptly provide updates if those lists
   2 change during the Term.
   3         5.    Training by Defendants. Defendants shall provide the Monitor with
   4 the categories of individuals trained to implement the Flores Agreement, including
   5 the individuals’ titles and duty locations, the dates of trainings, and all final
   6 training materials bearing upon implementation of the Flores Agreement. The
   7 dates and locations of all such trainings shall be provided to the Monitor at least
   8 ten (10) days prior to the training dates and the Monitor may attend any such
   9 trainings. In her discretion, the Monitor may invite the parties’ representatives to
  10 join her. The Monitor may also in her discretion attend formal meetings of any
  11 task force or implementing group of Defendants or their appointees, designees,
  12 contractors, or subcontractors regarding implementation of the Agreement.
  13         6.    Notice of Implementation Materials.         By the Effective Date,
  14 Defendants shall provide the Monitor with any non-privileged final copies of any
  15 regulations, policy directives, manual sections, guidance, memoranda, instructions,
  16 orders, and other non-privileged implementation materials aimed at compliance
  17 with the Flores Agreement and the Court’s Orders. Defendants shall promptly
  18 provide updates to the Monitor if any such implementation materials change at any
  19 time during the Term.
  20         7.    Inspection of Facilities. The Monitor shall have the right to conduct
  21 reasonable inspections of detention facilities implicated in the Court’s Orders used
  22 by, contracted with, or acting on behalf of Defendants to hold Class Members.
  23 With or without prior notice, the Monitor shall have the right to tour and inspect
  24 Defendants’ detention facilities and interview staff (including Defendants’
  25 employees), Class Members, and their accompanying relatives to assess
  26 compliance with the Court’s Orders. Class Members and their accompanying
  27 relatives may elect not to be interviewed by the Monitor. Class Counsel and
  28 Defendants’ counsel or designated representatives may, at the discretion of the

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   1 Monitor, be present during site inspections and interviews.           Defendants shall
   2 designate one or more persons the Monitor may contact to promptly address any
   3 access or inspection issues that may arise during the course of a site inspection.
   4 C.      SUPPORT AND COMPENSATION FOR THE MONITOR
   5         1.    Support. The Monitor may, as she deems necessary to carry out her
   6 functions, seek assistance from aides whose services the Monitor deems important
   7 to performing her duties. Prior to retaining the services of an independent expert,
   8 however, the Monitor must consult with the parties and the Court and provide an
   9 explanation of the need for such expert, and his or her qualifications. Thereafter,
  10 the Court shall make a determination of whether to authorize the retention of the
  11 expert. The parties may request background information regarding other aides to
  12 the extent necessary to conform to any statutes or regulations.
  13         2.    Compensation.      All of the Monitor’s fees, costs, and expenses,
  14 including those with respect to aides, are to be paid by Defendants. See Fed. R.
  15 Civ. P. 53(g)(3) (providing that courts should consider several factors when
  16 allocating payment among the parties, including “the extent to which any party is
  17 more responsible than other parties for the reference to a master”). The Monitor
  18 shall be compensated at the hourly rate of $250 during the first year of the Term,
  19 $275 during the second year and, if necessary, $300 during the third year. The
  20 services of the Monitor’s aides shall be billed at a rate not to exceed $125 per hour.
  21 The Monitor is entitled to reimbursement for all reasonable expenses incurred. On
  22 a monthly basis, the Monitor shall provide Defendants with a detailed record of
  23 hours billed and expenses incurred in the preceding month. If Defendants dispute
  24 a bill from the Monitor, they shall have 15 days to review and submit objections to,
  25 and/or request additional clarifying information or documentation from the
  26 Monitor, with a copy served on Class Counsel and filed with the Court. If within
  27 30 days of presentation of the Monitor’s bill, there is still a dispute, Defendants
  28 shall submit the dispute to the Court for resolution. Defendants and the Monitor

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   1 shall prepare a joint statement regarding the disputed payment for filing within 30
   2 days after Defendants’ receipt of the Monitor’s bill. If the Monitor anticipates that
   3 her annual compensation, costs, and expenses shall exceed $300,000 per year, she
   4 shall notify the Parties and the Court, preferably within six months after the
   5 Effective Date, and make a showing of good cause and provide an estimate of the
   6 amount she anticipates will be required for her to properly perform the duties and
   7 obligations set forth in this Order. Upon such notification, the Court shall set a
   8 schedule that will permit the Parties to submit written comment.
   9 D.     REPORTING TO THE COURT AND CLASS COUNSEL; JUDICIAL
  10        REVIEW; DISPUTE RESOLUTION
  11        1.     Reporting to the Court. The Monitor shall provide regular Reports
  12 and Recommendations to the Court in the following manner:
  13               a.    Within 90 days after the Effective Date, and every 90 days
  14                     thereafter through the end of the Term, the Monitor shall file on
  15                     the case docket a Report and Recommendation regarding
  16                     Defendants’ substantial compliance with the June 27, 2017 and
  17                     July 30, 2018 Orders, or other Court orders issued during the
  18                     Term, as well as any recommendations for steps necessary to
  19                     remedy any non-compliance. If necessary, the Monitor may
  20                     seek a reasonable extension of time to file her Report and
  21                     Recommendation.         The    Monitor’s     First    Report     and
  22                     Recommendation shall also discuss Defendants’ responses to
  23                     the declarations Plaintiffs filed on July 19, 2018 [Doc. ## 475
  24                     to 475-7] and Plaintiffs’ reply thereto [Doc. ## 481 and 481-1],
  25                     and opine on the extent (if any) to which Defendants have
  26                     rebutted Plaintiffs’ evidence. The geographical scope of the
  27                     Monitor’s duties shall not be expanded in the absence of a
  28                     Court Order, following a hearing on a duly noticed motion filed

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   1                   by Plaintiffs. The Monitor shall append to her Reports and
   2                   Recommendations any documents that the Monitor deems
   3                   important for the conclusions therein (“Appendix”).                 If
   4                   applicable, the Monitor’s Reports and Recommendations may
   5                   also address any suspected breaches of the Flores Agreement
   6                   that have been brought to her attention but which are beyond
   7                   the scope of the June 27, 2017 and July 30, 2018 Orders. The
   8                   Monitor may, in her discretion, meet with the Parties to discuss
   9                   these suspected breaches and/or request briefing and evidence
  10                   and hold a hearing regarding (1) whether the scope of her
  11                   monitoring functions should be expanded to cover such
  12                   suspected breaches and/or (2) any proposals for curing them.
  13                   The parties shall file on the docket all documents submitted for
  14                   the Monitor’s consideration. The Monitor shall have the sole
  15                   discretion to determine the appropriate procedures for briefing
  16                   and hearing arguments and evidence regarding such suspected
  17                   breaches, so long as those procedures and measures are not
  18                   inconsistent with this Order.
  19              b.   At least twenty-eight (28) days before filing the Report and
  20                   Recommendation and Appendix on the case docket, the
  21                   Monitor shall serve the Parties with copies of each, and the
  22                   Parties shall have 10 days from the date of service to submit to
  23                   the   Monitor    written    comments      to    the    Report     and
  24                   Recommendation. In her discretion, the Monitor may modify
  25                   the Report and Recommendation in any manner suggested by a
  26                   Party before filing it with the Court, although the Monitor has
  27                   no obligation to explain her response (or lack thereof) to any
  28

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   1                     suggestions.       The Monitor shall file the Parties’ written
   2                     comments together with the Report and Recommendation.
   3                c.   If the Monitor has a good faith basis to believe that there is a
   4                     significant violation of the Court’s Orders that cannot
   5                     reasonably     be      addressed      through      a     Report      and
   6                     Recommendation due to its exigency, the Monitor shall file on
   7                     the case docket an interim report and recommendation (“Interim
   8                     Report       and       Recommendation”),            including        any
   9                     recommendations for steps necessary to improve Defendants’
  10                     compliance and the reason for the urgency. Prior to filing the
  11                     Interim Report and Recommendation, the Monitor shall afford
  12                     the Parties a reasonable opportunity to be heard and to
  13                     expeditiously cure any violation.
  14                d.   Nothing in this Order limits the Monitor’s ability to notify the
  15                     Parties jointly of issues relating to the discharge of her duties
  16                     through reasonable means, including in-person or telephonic
  17                     meetings, status conferences, or correspondence.             Nor shall
  18                     anything in this Order limit the Monitor’s ability to promptly
  19                     notify the Parties of violations of the Court’s Orders that, due to
  20                     their exigency, should not be addressed on the normal timeline
  21                     for Reports and Recommendations.
  22        2.      Judicial Review. The Court adopts the review procedures and time
  23 lines set forth in Federal Rule of Civil Procedure 53(f) and incorporates them
  24 herein by this reference.        Any Party seeking review of any finding or
  25 recommendation of the Monitor shall comply with Rule 53(f).
  26        3.      Dispute Resolution.       In the event Class Counsel alleges that
  27 Defendants have failed to comply with the Court’s Orders, the following procedure
  28 shall apply:

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   1              a.    Class Counsel shall provide Defendants and the Monitor with a
   2                    written statement describing the alleged non-compliance and
   3                    specifying the portion(s) of the June 27, 2017 Order, the
   4                    July 30, 2018 Order, and/or this Order that Defendants
   5                    allegedly violated (“Notice of Non-Compliance”). Defendants
   6                    shall provide a written statement responding to the alleged
   7                    violation within 14 calendar days from receipt of the Notice of
   8                    Non-Compliance and, within 21 calendar days from the Notice
   9                    of Non-Compliance, counsel for the Parties shall meet and
  10                    confer in a good faith effort to resolve their dispute informally.
  11              b.    In the event that the Notice of Non-Compliance cannot be
  12                    resolved informally within the time period set forth herein,
  13                    counsel for the Parties shall request that the Monitor mediate
  14                    the dispute. If the dispute has not been resolved within 14 days
  15                    of referral to the Monitor, Class Counsel may request that the
  16                    Court issue an order requiring compliance.          Thereafter, the
  17                    Monitor may file her recommendations concerning the dispute
  18                    within a time frame to be established after conferring with the
  19                    Court. In an emergency, Class Counsel may request that the
  20                    Monitor and the Court waive the time periods set forth in
  21                    Section D.3 of this Order.
  22 E.     MISCELLANEOUS PROVISIONS; RETENTION OF
  23        JURISDICTION
  24        1.    Confidentiality of Information. The Protective Order governing this
  25 litigation [Doc. # 270] shall continue to apply to all documents or information
  26 produced by Defendants pursuant to this Order. Any individual who assists the
  27 Monitor must agree to be bound by the terms of the Protective Order and execute
  28 the Acknowledgment of Protective Order for Discovery. The Monitor may, in her

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   1 discretion, share documents or information produced by Defendants with Class
   2 Counsel to the extent it is in furtherance of the performance of her duties under this
   3 Order.
   4         2.    Cooperation of Parties. The Parties and the Juvenile Coordinators
   5 shall cooperate in good faith with the Monitor to facilitate the performance of her
   6 duties.
   7         3.    Preservation of Materials. The Monitor shall preserve and, where
   8 appropriate, file those materials reflecting the essential activities she and any of her
   9 aides perform in carrying out the monitoring duties. The Monitor shall file on the
  10 case docket all requests for modification of this Order and all status reports.
  11         4.    Retention of Jurisdiction; Amendments. The Court retains jurisdiction
  12 to enforce this Order and to amend it for good cause.
  13
  14 IT IS SO ORDERED.
  15
  16 DATED: October 5, 2018
                                              DOLLY M. GEE
  17                                          UNITED STATES DISTRICT JUDGE
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